
In re Nungesser, William A. et al.; Nungesser, William H. Jr.; Nungesser, Eric; Nungesser, Hugh; General Marine Leasing Inc.;' — Defendants; Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Civil District Court Div. B, No. 99-5506; to the Court of Appeal, Fourth Circuit, No. 2002-C-0161.
Granted. In light of the complexity of this discovery ruling, it appears a written judgment was contemplated by the trial court and the parties. Therefore, the ruling at issue for purposes of Rule 4-3 was the written judgment of December 17, 2001. Kosmitis v. Bailey, 96-1573 (La.10/4/96), 680 So.2d 1167. Relator’s notice of intent was filed within thirty days of that date, and its writ application was filed within the deadline set by the trial court. Accordingly, the application is remanded to the court of appeal for consideration on the merits.
